Case 1:25-cv-00804-BAH   Document 12-8   Filed 03/24/25   Page 1 of 6




             EXHIBIT H
       Case 1:25-cv-00804-BAH         Document 12-8        Filed 03/24/25     Page 2 of 6




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 UNITED STATES INSTITUTE OF PEACE, et al.,

                Plaintiffs,
                                                          Case No. 1:25-cv-00804

 v.


 KENNETH JACKSON, et al.,

                Defendants.

                          DECLARATION OF SHIRA LOWINGER

      I, Shira Lowinger, declare under penalty of perjury, under 28 U.S.C. § 1746, that the

following is true and correct:

        1.     I am the Director of Grants and Contracts Administration for the United States

Institute of Peace (USIP).

        2.     I have a tenure of fourteen (14) years at USIP, having first served from 2006 to

2011 in the Grants and Fellows Office, and then returning in 2015 to work with the Grants and

Contracts Administration team in Finance.

        3.     In September 2016, I was promoted to Director of Grants and Contracts

Administration and have been in that role since then. In that role, my responsibilities include

managing contractual agreements between USIP and vendors and other contractors. I also manage

the Memoranda of Understanding with government entities and other organizations and oversee

the procurement process and policies for USIP. In my capacity as Director of Grants and Contracts

Administration, I oversee all the work that USIP does with regard to grants and contracts.


                                                1
      Case 1:25-cv-00804-BAH            Document 12-8         Filed 03/24/25      Page 3 of 6




       4.      USIP’s computer system contains its grant management system and its financial

management system, which includes vendor and contract information. USIP maintains contracts

both domestically and abroad for its operations in different countries.

       5.      If DOGE were to access this information, take action to cancel contracts and grants,

delete information from USIP’s computer system, and/or terminate USIP employees or put them

on administrative leave, there would be severe and irreparable harm caused to USIP and its staff.

       6.      USIP has contracts domestically with a variety of vendors. This includes a facilities

and engineering contract for building maintenance, catering contracts, and building security

contracts.

       7.      USIP is legally bound by these contracts, and the sudden cancellation of such

contracts without cause would result in USIP breaching the contracts. Outside of the potential

legal repercussions, USIP’s relationship with these vendors would be harmed, rendering it difficult

to reestablish such contracts in the future in order to restart work. Further, canceling the facilities

and engineering contract would result in the loss of key personnel with pertinent and specialized

knowledge about the USIP headquarters building and systems, rendering it difficult to safely

maintain the building and restart work in the future.

       8.      USIP maintains a presence (i.e., leases space, has support staff, or contractors on

the ground) in twenty-six (26) countries outside of the U.S. USIP has seven (7) field offices where

it both leases space and maintains staff on the ground. These offices are located in Nigeria,

Thailand, Colombia, El Salvador, Pakistan, Tunisia, and Libya and contain federal assets, USIP

assets, and computers with sensitive information about USIP workers and operations.




                                                  2
      Case 1:25-cv-00804-BAH             Document 12-8        Filed 03/24/25     Page 4 of 6




       9.         If such leases are terminated without guidance for how to shut down an office,

especially in insecure areas, all of USIP’s property and information is at risk of being taken and

used to harm USIP and its staff.

       10.        USIP’s computer systems contain sensitive, important, and legally necessary

information. For example, this includes employee information, vendor information, all of USIP’s

research and educational materials, including those developed and used in USIP’s online global

academy, documentation for intellectual property purposes, and documentation to support

Institutional Review Board standards for research using human subjects.

       11.        Any release of employee information, which includes names, personal information,

and banking information, would harm and even endanger USIP’s staff, especially those located

abroad in insecure areas, who may be targeted by terrorist groups or other bad actors.

       12.        Further, the deletion of all current and historical employee and vendor information

would render it extremely difficult to restart work in the future, as all records are kept

electronically.

       13.        USIP’s computer system contains decades of research and educational materials

which are USIP’s intellectual property and documentation supporting this claim of intellectual

property, such as author agreements. This includes but is not limited to educational courses and

other materials used in USIP’s online global academy, and student lists. The loss of this

intellectual property documentation would render USIP unable to use, distribute, or sell these texts

in the future, which would harm USIP’s ability to carry out part of its core mission, which is

education and training.

       14.        USIP carries out extensive research that often contains human subjects. In order to

publish its research, USIP must have approval from an Institutional Review Board (IRB). This



                                                   3
      Case 1:25-cv-00804-BAH              Document 12-8    Filed 03/24/25      Page 5 of 6




approval is contingent upon USIP’s maintenance of documentation proving that human subjects

were not harmed in the course of the research. The deletion of this documentation from USIP’s

computer systems would cause USIP to be in violation of the IRB’s human subject standards and

would not only result in an inability to publish and use its research in the future but would open

USIP up to litigation risk from these human subjects, all of which would forever damage USIP’s

reputation as a research institution.

       15.     USIP maintains documentation regarding its operations and use of funds in its

computer systems, which are required for audits of the organization. Loss of access to these

materials, which are only kept electronically, would prevent USIP from fulfilling its tax reporting

obligations as well as its statutorily mandated requirement to report its annual audits to Congress

and the President of the United States.

       16.     Finally, the sudden termination of USIP employees and contractor staff would

cause significant harm to both USIP and these personnel. Many of these personnel work in

insecure areas of the world. Some are third-country nationals who were asked to leave their

country of residence and relocate to a new country to perform work for USIP. If their contracts

are canceled without proper notice or assistance, these staff could be stranded and trapped in that

insecure country or kicked out or prosecuted for lack of proper work documentation.

       17.     It is my strong belief that based on DOGE’s actions taken with respect to other

organizations, DOGE’s access to USIP’s computer systems would be extremely harmful to USIP

and its personnel, and would result in irreparable consequences for USIP’s operations, legal

protections, and the safety of USIP’s employees and contractor staff.

       I declare under penalty of perjury under the laws of the District of Columbia that the

foregoing declaration is true and correct.


                                                 4
      Case 1:25-cv-00804-BAH        Document 12-8       Filed 03/24/25   Page 6 of 6




Dated this 18th of March, 2025, and executed in Washington, D.C.

Signed: /s/ Shira Lowinger

Print Name: Shira Lowinger




                                             5
